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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

MICHAEL KIM, as the co-debtor by the

void judgment of the State Court and as an

individual entitled to all proceeds of any sale

of the subject property forced or otherwise,
Plaintiff,

V. CASE NO. 8:20-cv-2225-T-02TGW
CATHERINE PEEK MCEWEN,

WESTWATER CONSTRUCTION, INC.,

MARK S. MILLER, HUNTER W. CARROLL,

SHIRIN MOHAMMADBHOY VESLEY,

STEPHEN L. MEININGER, ERIC JACOBS,

and STEPHANIE C. LIEB, Inclusive, —

Defendants.
/

ORDER
THIS CAUSE came on for consideration upon Westwater
Construction, Inc., Mark S. Miller, Shirin Mohammadbhoy Vesley, and
Stephanie C. Lieb’s First Motion for Extension of Time (Doc. 32). All
requests for extension of time will be granted.
It is, therefore, upon consideration,
ORDERED:

That Westwater Construction, Inc., Mark S. Miller, Shirin
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Mohammadbhoy Vesley, and Stephanie C. Lieb’s First Motion for
Extension of Time (Doc. 32) be, and the same is hereby, GRANTED to the
extent that Westwater Construction, Inc., Mark S. Miller, Shirin
Mohammadbhoy Vesley, and Stephanie C. Lieb will have the following
extensions:

1. The deadline for responding to the Complaint is extended to |
November 16, 2020;

2. The deadline for responding to the Withdrawal Motion is
extended to November 9, 2020;

3. The deadline for responding to the Proposed Order to Show
Cause is extended to November 16, 2020;

4. The deadline for responding to the Motion for Summary
Judgment is extended to November 25, 2020; and

5. The deadline for responding to Trail Management, LLC’s
Motion Requesting this Court to Disallow Westwater’s Claim is extended to
November 15, 2020.

&
DONE and ORDERED at Tampa, Florida, this a day of

THOMAS G. WILSON
UNITED STATES MAGISTRATE JUDGE

October 2020.

 
